AO 245C (W D N C R ev. 5/11) Judgm ent in a C rim inal C ase
sheet 1



                                                                 United States District Court
                                                           For The W estern District of North Carolina

UNITED STATES OF AMERICA                                                                              AM ENDED JUDGM ENT IN A CRIM INAL CASE
                                                                                              (For Offenses Com m itted On or After Novem ber 1, 1987)
            V.
                                                                                              Case Num ber: DNCW 310CR000087-006
                                                                                              USM Num ber: 24911-058
CLAYTON CADERIUS KERSEY
(Nam e of Defendant)


 Filed Date of Original Judgment: M ay 13, 2011                                                  John Cacheris

 (Or Filed Date of Last Amended Judgment)                                                   Defendant’s Attorney

 Reason for Amendment:

        Correction of Sentence on R em and (18 U .S.C . § 3742(f)(1) and (2))                 M odification of Supervision C onditions (18 U .S.C . §§ 3563(c) or
                                                                                            3583(e))

        Reduction of Sentence for C hanged Circum stances (Fed. R . C rim . P. 35(b))          M odification of Im posed Term of Im prisonm ent for Extraordinary and
                                                                                            C om pelling R easons (18 U .S.C. § 3582(c)(1))

        Correction of Sentence by Sentencing Court (Fed. R . C rim . P. 35(a))                M odification of Im posed Term of Im prisonm ent for R etroactive
                                                                                            Am endm ent(s) to the Sentencing Guidelines (18 U .S.C . § 3582(c)(2))

    X   Correction of Sentence for C lerical M istake (Fed. R . C rim . P. 36)                  Direct M otion to D istrict C ourt Pursuant

                                                                                                      28 U.S.C . § 2255      Or         18 U.S.C . § 3559(c)(7)

                                                                                                M odification of R estitution Order 18 U.S.C . § 3664


AC C O R D IN G LY, the court has adjudicated that the defendant is guilty of the following offense(s):

THE D EFEN D AN T:

X           pleaded guilty to count(s) 1.
            Pleaded nolo contendere to count(s) which was accepted by the court.
            W as found guilty on count(s) after a plea of not guilty.


                                                                                                                    D ate O ffense
 Title and Section                        N ature of Offense                                                        C oncluded                                    C ounts

 21:846 and 841(a)(1)                     C onspiracy to Possess with Intent to Distribute Cocaine Base             M ay 17, 2010                                 1



         The D efendant is sentenced as provided in pages 2 through 5 of this judgm ent. The sentence is im posed pursuant to the Sentencing Reform Act of 1984
reference to Booker, and 128 U .S.C . 3553(a).

            The D efendant has been found not guilty on count(s) .
X           C ount(s) 5 (is)(are) dism issed on the m otion of the U nited States.

           IT IS ORD ERED that the Defendant shall notify the United States Attorney for this district within 30 days of any change of nam e, residence, or m ailing
address until all fines, restitution, costs, and special assessm ents im posed by this judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall
notify the court and U nited States attorney of any m aterial change in the defendant’s econom ic circum stances.

                                                 D ate of Im position of Sentence / D ate Court Ordered Am endm ent: July 11, 2011


                                                                                                            Signed: August 11, 2011




                              Case 3:10-cr-00087-FDW                             Document 209             Filed 08/11/11             Page 1 of 6
AO 245C (W D N C R ev. 5/11) Judgm ent in a C rim inal C ase



Defendant: CLAYTON CADERIUS KERSEY                                                                                Judgm ent-Page 2 of 5
Case Num ber: DNCW 310CR000087-006

                                                                   IM PRISONM ENT

      The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a term of
THIRTY (30) MONTHS.




X        The Court m akes the following recom m endations to the Bureau of Prisons:

        - Defendant shall participate in the Inm ate Financial Responsibility Program to support dependants and for paym ent of court
im posed m onetary penalties.
        - Defendant shall participate in any Substance abuse Program available through BOP while incarcerated and if eligible receive
benefit of 18:3621(e)(2).
        - Defendant shall participate in any Educational & Vocational opportunities available through Bop while incarcerated.
        - Defendant shall be designated to a facility close to W adesboro, NC.

X        The Defendant is rem anded to the custody of the United States Marshal.

         The Defendant shall surrender to the United States Marshal for this District:

                            As notified by the United States Marshal.

                            At___a.m . / p.m . on ___.

         The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                            As notified by the United States Marshal.

                            Before 2 p.m . on ___.

                            As notified by the Probation Office.

                                                                      RETURN

         I have executed this Judgm ent as follows:




      Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.




___________________________________________
         United States Marshal


                                                                                     By: _______________________________________
                                                                                                   Deputy Marshal



                           Case 3:10-cr-00087-FDW              Document 209         Filed 08/11/11   Page 2 of 6
AO 245C (W D N C R ev. 5/11) Judgm ent in a C rim inal C ase



Defendant: CLAYTON CADERIUS KERSEY                                                                                                                Judgm ent-Page 3 of 5
Case Num ber: DNCW 310CR000087-006

                                                                      SUPERVISED RELEASE

         Upon release from im prisonm ent, the defendant shall be on supervised release for a term of THREE (3) YEARS.

         The condition for m andatory drug testing is suspended based on the court’s determ ination that the defendant poses a low risk
         of future substance abuse.

                                                        STANDARD CONDITIONS OF SUPERVISION

         The defendant shall com ply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.       The defendant shall not com m it another federal, state, or local crim e.
2.       The defendant shall refrain from possessing a firearm , destructive device, or other dangerous weapon.
3.       The defendant shall pay any financial obligation im posed by this judgm ent rem aining unpaid as of the com m encem ent of the sentence of probation or the
         term of supervised release on a schedule to be established by the C ourt.
4.       The defendant shall provide access to any personal or business financial inform ation as requested by the probation officer.
5.       The defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.       The defendant shall not leave the W estern D istrict of N orth C arolina without the perm ission of the C ourt or probation officer.
7.       The defendant shall report in person to the probation officer as directed by the C ourt or probation officer and shall subm it a truthful and com plete written report
         within the first five days of each m onth.
8.       A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72 hours of release from
         custody of the Bureau of Prisons.
 9.      The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.      The defendant shall support his or her dependents and m eet other fam ily responsibilities.
11.      The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other activities authorized by the
         probation officer.
12.      The defendant shall notify the probation officer within 72 hours of any change in residence or em ploym ent.
13.      The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or adm inister any narcotic or other
         controlled substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed physician.
14.      The defendant shall participate in a program of testing and treatm ent or both for substance abuse if directed to do so by the probation officer, until such tim e
         as the defendant is released from the program by the probation officer; provided, however, that defendant shall subm it to a drug test within 15 days of release
         on probation or supervised release and at least two periodic drug tests thereafter for use of any controlled substance, subject to the provisions of
         18:3563(a)(5) or 18:3583(d), respectively.
15.      The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or adm inistered.
16.      The defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any person convicted of a felony unless granted
         perm ission to do so by the probation officer.
17.      The defendant shall subm it his person, residence, office, vehicle and/or any com puter system including com puter data storage m edia, or any electronic
         device capable of storing, retrieving, and/or accessing data to which they have access or control, to a search, from tim e to tim e, conducted by any U.S.
         Probation Officer and such other law enforcem ent personnel as the probation officer m ay deem advisable, without a warrant. The defendant shall warn other
         residents or occupants that such prem ises or vehicle m ay be subject to searches pursuant to this condition.
18.      The defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it confiscation of any contraband observed
         by the probation officer.
19.      The defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcem ent officer.
20.      The defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent agency without the perm ission of the C ourt.
21.      As directed by the probation officer, the defendant shall notify third parties of risks that m ay be occasioned by the defendant’s crim inal record or personal
         history or characteristics, and shall perm it the probation officer to m ake such notifications and to confirm the defendant’s com pliance with such notification
         requirem ent.
22.      If the instant offense was com m itted on or after 4/24/96, the defendant shall notify the probation officer of any m aterial changes in defendant’s econom ic
         circum stances which m ay affect the defendant’s ability to pay any m onetary penalty.
23.      If hom e confinem ent (hom e detention, hom e incarceration or curfew) is included you m ay be required to pay all or part of the cost of the electronic m onitoring
         or other location verification system program based upon your ability to pay as determ ined by the probation officer.
24.      The defendant shall cooperate in the collection of D N A as directed by the probation officer.
25.      The defendant shall participate in transitional support services under the guidance and supervision of the U .S. Probation Officer. The defendant shall rem ain
         in the services until satisfactorily discharged by the service provider and/or with the approval of the U .S. Probation Officer.


ADDITIONAL CONDITIONS:




                           Case 3:10-cr-00087-FDW                        Document 209                Filed 08/11/11              Page 3 of 6
AO 245C (W D N C R ev. 5/11) Judgm ent in a C rim inal C ase


Defendant: CLAYTON CADERIUS KERSEY                                                                                     Judgm ent-Page 4 of 5
Case Num ber: DNCW 310CR000087-006

                                                               CRIM INAL M ONETARY PENALTIES

The defendant shall pay the following total crim inal m onetary penalties in accordance with the Schedule of Paym ents.


                  ASSESSM ENT                                                 FINE                             RESTITUTION

                       $100.00                                                $0.00                                $0.00



                                                                               FINE


        The defendant shall pay interest on any fine or restitution of m ore than $2,500.00, unless the fine or restitution is paid in full
before the fifteenth day after the date of judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options on the Schedule of
Paym ents m ay be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

X             The court has determ ined that the defendant does not have the ability to pay interest and it is ordered that:

X             The interest requirem ent is waived.

              The interest requirem ent is m odified as follows:


                                                               COURT APPOINTED COUNSEL FEES

              The defendant shall pay court appointed counsel fees.

              The defendant shall pay $                          towards court appointed fees.




                           Case 3:10-cr-00087-FDW                     Document 209         Filed 08/11/11   Page 4 of 6
AO 245C (W D N C R ev. 5/11) Judgm ent in a C rim inal C ase


Defendant: CLAYTON CADERIUS KERSEY                                                                                          Judgm ent-Page 5 of 5
Case Num ber: DNCW 310CR000087-006


                                                                SCHEDULE OF PAYM ENTS


Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as follows:

         A                  Lum p sum paym ent of $                 due im m ediately, balance due

                            not later than               , or
                            in accordance             (C),      (D) below; or

         B     X            Paym ent to begin im m ediately (m ay be com bined with         (C),     X (D) below); or

         C                  Paym ent in equal             (e.g. weekly, m onthly, quarterly) installm ents of $           to com m ence
                            (e.g. 30 or 60 days) after the date of this judgm ent; or

         D     X            Paym ent in equal Monthly (E.g. weekly, m onthly, quarterly) installm ents of $ 50.00 To com m ence 60
                            (E.g. 30 or 60 days) after release from im prisonm ent to a term of supervision. In the event the entire am ount of
                            crim inal m onetary penalties im posed is not paid prior to the com m encem ent of supervision, the U.S. Probation
                            Officer shall pursue collection of the am ount due, and m ay request the court to establish or m odify a paym ent
                            schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the paym ent of crim inal m onetary penalties:

         The defendant shall pay the cost of prosecution.
         The defendant shall pay the following court costs:
         The defendant shall forfeit the defendant’s interest in the following property to the United States:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgm ent im poses a period of im prisonm ent
paym ent of crim inal m onetary penalties shall be due during the period of im prisonm ent. All crim inal m onetary penalty paym ents are to
be m ade to the United States District Court Clerk, 401 W est Trade Street, Room 210, Charlotte, NC 28202, except those paym ents
m ade through the Bureau of Prisons’ Inm ate Financial Responsibility Program . All crim inal m onetary penalty paym ents are to be
m ade as directed by the court.




Paym ents shall be applied in the following order: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
fine interest, (6) com m unity restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




                           Case 3:10-cr-00087-FDW                  Document 209         Filed 08/11/11            Page 5 of 6
AO 245C (W D N C R ev. 5/11) Judgm ent in a C rim inal C ase



Defendant: CLAYTON CADERIUS KERSEY                                                                                 Judgm ent-Page 6 of 6
Case Num ber: DNCW 310CR000087-006

                                                               STATEMENT OF ACKNOW LEDGMENT

I understand that m y term of supervision is for a period of _______m onths, com m encing on ____________________ .

Upon a finding of a violation of probation or supervised release, I understand that the court m ay (1) revoke supervision, (2) extend the
term of supervision, and/or (3) m odify the conditions of supervision.

I understand that revocation of probation and supervised release is m andatory for possession of a controlled substance, possession of
a firearm and/or refusal to com ply with drug testing.

These conditions have been read to m e. I fully understand the conditions and have been provided a copy of them .




(Signed)       ____________________________________ Date: _________________
                Defendant

(Signed)       ____________________________________ Date: _________________
                U.S. Probation Office/Designated W itness




                           Case 3:10-cr-00087-FDW                    Document 209   Filed 08/11/11   Page 6 of 6
